                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

LUIS ANGEL ALVAREZ ROMAN,                           :
                                                    :      CIVIL ACTION NO. 1:23-cv-02348
                               Plaintiff,           :
                                                    :      JUDGE PATRICIA A. GAUGHAN
       v.                                           :
                                                    :
CITY OF LORAIN, OHIO, ET AL.,                       :
                                                    :
                               Defendants.          :


                       JOINT STATUS REPORT OF THE PARTIES

       On December 12, 2024, the parties met pursuant to the Court’s Case Management Order.

The parties submit as follows:

       1. Discovery

       Discovery is complete.

       2. Settlement

       The parties recently conducted a settlement conference before Magistrate Greenberg. As

a result of the mediation, Plaintiff’s claims against the City of Lorain Defendants have been

resolved and the Court can anticipate a Notice of Dismissal with Prejudice of all claims against

the following Defendants no later than January 31, 2025:

       (1) City of Lorain, Ohio

       (2) James P. McCann

       (3) Marcus Rivera

       (4) Christopher Colon

       Plaintiff and the County Defendants were unable to reach a resolution. Plaintiff and the

County Defendants will continue mediation in front of Magistrate Greenberg on December 23,


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2024.

        3. Issues to be addressed

        No issues at this time.


Respectfully submitted:

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